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        DENIED for failure to comply with the
        DENIED  for failure to and
        Court's instructions   submit
                                   submit a
        a properly completed
        properly completed form.form.

        Dated: November 19, 2010


        ____________________________________
        CHIEF UNITED STATES DISTRICT JUDGE
